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                   EXHIBIT 8
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                         JAMES v. HAMPTON, ET AL.

                                  PAMELA ANDERSON




                                       October 12, 2017



                                         Prepared for you by




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                                                               Page 1                                              Page 3
         1                UNITED STATES DISTRICT COURT                    1   ADAM T. RATLIFF
         2                EASTERN DISTRICT OF MICHIGAN                    2   Warner, Norcross & Judd, L.L.P.
         3                    SOUTHERN DIVISION                           3   2000 Town Center
         4                                                                4   Suite 2700
         5   SYLVIA JAMES,                                                5   Southfield, Michigan 48075
         6                Plaintiff,                                      6   248.784.5154
         7       vs.             Case No. 2:12-cv-10273                   7   aratliff@wnj.com
         8                       Hon. Paul D. Borman                      8       Appearing on behalf of Defendant Fischer.
         9                       Magistrate Judge R. Steven Whalen        9
        10   HILLIARD HAMPTON, et al.,                                   10   MICHAEL A. COX
        11                Defendants.                                    11   The Mike Cox Law Firm, P.L.L.C.
        12   _________________________________                           12   17430 Laurel Park Drive North
        13                                                               13   Suite 120E
        14                                                               14   Livonia, Michigan 48152
        15       The Deposition of PAMELA ANDERSON,                      15   734.591.4002
        16       Taken at 17430 North Laurel Park Drive, Suite 120E,     16   mc@mikecoxlaw.com
        17       Livonia, Michigan,                                      17       Appearing on behalf of Defendant Anderson.
        18       Commencing at 2:39 p.m.,                                18
        19       Thursday, October 12, 2017,                             19
        20       Before Helen F. Benhart, CSR-2614.                      20
        21                                                               21
        22                                                               22
        23                                                               23
        24                                                               24
        25                                                               25


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         1   APPEARANCES:                                                 1                TABLE OF CONTENTS
         2                                                                2
         3   JASON R. HIRSCH                                              3    WITNESS                              PAGE
         4   Morganroth & Morganroth, P.L.L.C.                            4    PAMELA ANDERSON
         5   344 North Old Woodward Avenue                                5
         6   Suite 200                                                    6    EXAMINATION
         7   Birmingham, Michigan 48009                                   7    BY MR. HIRSCH:                          5
         8   248.864.4000                                                 8    EXAMINATION
         9   jhirsch@morganrothlaw.com                                    9    BY MR. COX:                          65
        10      Appearing on behalf of the Plaintiff.                    10
        11                                                               11                    EXHIBITS
        12   DOUGLAS G. POWE                                             12
        13   Assistant Attorney General                                  13    EXHIBIT                            PAGE
        14   Civil Litigation, Employment, and Elections Division        14    (Exhibits attached to transcript.)
        15   5th Floor G. Mennen Williams Building                       15
        16   525 West Ottawa Street                                      16    DEPOSITION EXHIBIT 1                        52
        17   Lansing, Michigan 48933                                     17    DEPOSITION EXHIBIT 2                        58
        18   517.373.6434                                                18
        19   powed1@michigan.gov                                         19
        20      Appearing on behalf of Defendants JTC, Washington, and   20
        21      Green.                                                   21
        22                                                               22
        23                                                               23
        24                                                               24
        25                                                               25




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                                                                         Page 5                                                         Page 7
         1    Livonia, Michigan                                                    1   Q. What degree did you receive?
         2    Thursday, October 12, 2017                                           2   A. An associate's degree.
         3    2:39 p.m.                                                            3   Q. In what field?
         4                                                                         4   A. General studies.
         5                       PAMELA ANDERSON,                                  5   Q. And you said you then attended U of M Dearborn,
         6        was thereupon called as a witness herein, and after              6       correct?
         7        having first been duly sworn to testify to the truth,            7   A. Correct.
         8        the whole truth and nothing but the truth, was                   8   Q. What was the time period for that?
         9        examined and testified as follows:                               9   A. That would have been two years after that so --
        10                  MR. HIRSCH: Good afternoon, ma'am. My                 10   Q. Around 1983?
        11        name is Jason Hirsch. I'm one of the attorneys for              11   A. Yes.
        12        plaintiff in this matter.                                       12   Q. And did you obtain a degree from U of M Dearborn?
        13                  Let the record show that this is the                  13   A. Yes, I did. That would have been in '84.
        14        deposition of Pamela Anderson taken pursuant to Notice          14   Q. What was that degree?
        15        under the Federal Rules of Civil Procedure.                     15   A. A bachelor's degree in general studies.
        16                         EXAMINATION                                    16   Q. Is that a bachelor of arts in general studies?
        17    BY MR. HIRSCH:                                                      17   A. Yes, a bachelor of arts.
        18    Q. Miss Anderson, I'll be asking you a series of                    18   Q. And you attended law school, correct?
        19        questions. You understand you were just sworn in.               19   A. Yes, I did.
        20        Your answers will be given under oath.                          20   Q. Where did you attend law school?
        21    A. Yes, sir.                                                        21   A. Detroit College of Law.
        22    Q. And please make sure to answer verbally so that the              22   Q. And what time period did you attend Detroit College of
        23        court reporter can record your answers, okay?                   23       Law?
        24    A. Yes.                                                             24   A. 1984 to 1987.
        25    Q. And if at any time you do not understand a question,             25   Q. And you received a J.D. from Detroit College of Law,


                                                                         Page 6                                                         Page 8
        1       please say so and I will try to clarify, okay?                     1      is that correct?
        2    A. Okay.                                                              2   A. Yes.
        3    Q. Please let me finish my entire question before you                 3   Q. You are a member of the State Bar of Michigan,
        4       give your answer both to make sure you understand the              4      correct?
        5       question I'm asking and because our court reporter                 5   A. Yes, sir.
        6       can't record two of us talking over each other, okay?              6   Q. When did you first become a member of the State Bar or
        7    A. Okay.                                                              7      Michigan?
        8    Q. I certainly don't think this will be a marathon, but               8   A. 1987.
        9       at any time you need a break, restroom, whatever,                  9   Q. Are you a member of the bars of any other states?
       10       please let me know and we'll take a break, okay?                  10   A. No.
       11    A. I will.                                                           11   Q. Any federal courts?
       12    Q. If at any time I interrupt you, and I'll certainly try            12   A. Federal court, yes.
       13       not to do that, but if I do, let me know and we'll let            13   Q. Which ones?
       14       you complete your answer for the record, okay?                    14   A. In Detroit. I mean the State of Michigan, the
       15    A. Okay.                                                             15      usual -- when you get your law license you can
       16    Q. Can I have your full name for the record, please?                 16      register, if I'm correct, with federal court in
       17    A. Pamela Ann Anderson.                                              17      Michigan.
       18    Q. Your date of birth, ma'am?                                        18   Q. So that would be the Eastern District of --
       19    A. 12/28/1960.                                                       19   A. Yes.
       20    Q. Where did you attend undergraduate college?                       20   Q. Eastern District of Michigan, correct?
       21    A. Henry Ford Community College and then U of M Dearborn.            21   A. Yep. I'm sorry.
       22    Q. What were the time periods at Henry Ford?                         22   Q. Have you ever been the subject of any professional
       23    A. '79 to '81.                                                       23      discipline?
       24    Q. And did you receive a degree from Henry Ford?                     24   A. No.
       25    A. Yes, I did.                                                       25   Q. Are you a member of any professional associations?




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        1    A. No.                                                              1   Q. But you were still -- you had your own practice, is
        2    Q. Okay. Could you give me your employment history from             2      that correct?
        3       the time you graduated law school forward?                       3   A. That's correct.
        4    A. Well, I can give you general. I can't give you                   4   Q. So that would continue the general practice you told
        5       specific dates.                                                  5      me about a moment ago, correct?
        6    Q. Okay.                                                            6   A. That's correct.
        7    A. I started out at the law offices of Chris Polaczyk,              7   Q. Then I think you said you moved back to Chris
        8       and I can't even tell you how many years this has been           8      Polaczyk, is that correct?
        9       so long ago. And then I worked for Canner and Bloom              9   A. That's correct.
       10       in Southfield. Then I worked for Schlussel and                  10   Q. And the practice was the same at the time you moved
       11       Drazin. I think their office was in Southfield. And             11      back, general practice?
       12       then I moved back to the Inkster area. I worked out             12   A. General practice, yes.
       13       of David Perry's office for a short time and then I             13   Q. Okay. And do you recall what year that takes us up
       14       moved in with Adam Dadaou and ended up back with Chris          14      through?
       15       Polaczyk. And I'm sorry. Before Adam Dadaou I had my            15   A. Well, that would take us up to the point in time when
       16       own office across the street from Adam's office.                16      I was hired with the 22nd District Court, which was
       17    Q. I think you've already told me you can't remember the           17      2007.
       18       time periods for these, correct?                                18   Q. Who hired you at the 22nd District Court?
       19    A. That is correct.                                                19   A. Who hired me?
       20    Q. I'm going to go through these. With respect to the              20   Q. Yes.
       21       law offices of Chris Polaczyk, what type of law did             21   A. Judge James.
       22       you practice there?                                             22   Q. And Judge James was the only judge at the 22nd
       23    A. General practice.                                               23      District Court at that time, correct?
       24    Q. With respect to Canter and Bloom, what sort of law did          24   A. That's correct.
       25       you practice there?                                             25   Q. And was Judge James your supervisor at that time?



                                                                      Page 10                                                          Page 12
         1    A. It's Canner and Bloom, C-A-N-N-E-R. They were                   1   A. Yes.
         2       personal injury.                                                2   Q. Is it fair to say that she was your supervisor the
         3    Q. Schlussel and Drazin, I get that one right?                     3      entire time she was at the court until she was put on
         4    A. Correct.                                                        4      administrative leave in 2011?
         5    Q. What sort of law did you practice there?                        5   A. That's a fair statement.
         6    A. Personal injury.                                                6   Q. Did you get along with Judge James?
         7    Q. Then you mentioned that you worked for David Perry, is          7   A. Yes.
         8       that correct?                                                   8   Q. In fact, you liked Judge James, is that correct?
         9    A. That's correct.                                                 9   A. That's correct.
        10    Q. Solo practitioner?                                             10   Q. Did you ever make any complaint to the State Court
        11    A. He was, yes.                                                   11      Administrator's Office about Judge James?
        12    Q. What sort of law did you practice with Mr. Perry?              12   A. No.
        13    A. General practice.                                              13   Q. Did you ever make any complaint to any other
        14    Q. And then I think you indicated you had your own office         14      organization about Judge James?
        15       for a while.                                                   15   A. No.
        16    A. That's correct.                                                16   Q. Did you ever make any anonymous complaints about Judge
        17    Q. What sort of law did you practice when you had your            17      James to the Michigan Judicial Tenure Commission?
        18       own office?                                                    18   A. No.
        19    A. General practice.                                              19   Q. And did you ever make any anonymous complaints to any
        20    Q. And then you mentioned Adam Dadaou?                            20      other agency about Judge James?
        21    A. Dadaou, D-A-D-A-O-U.                                           21   A. No.
        22    Q. Were you working for Mr. Dadaou or a partnership?              22   Q. During the time Judge James was your supervisor, were
        23       What was the situation?                                        23      you ever disciplined by Judge James?
        24    A. It wasn't a -- I'm sorry. It wasn't a partnership. I           24   A. What do you mean by disciplined?
        25       worked out of his office.                                      25   Q. Well, she was your boss, right, fair to say?




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        1    A. Yes.                                                         1   A. No.
        2    Q. Okay. Did she ever tell you that anything you had            2   Q. Were you ever disciplined for allegedly preparing a
        3       done in your job was incorrect?                              3      letter under Judge James' signature which she had not
        4    A. There was a point -- one time the magistrate at the          4      approved?
        5       time, Jeffrey Bowdich, was responsible for the case          5   A. No.
        6       age report, for doing the case age report, and Jeffrey       6   Q. You mentioned before a situation about submitting a
        7       Bowdich gave me the case age report, and I submitted         7      case age report that had been prepared by Mr. Bowdich,
        8       that to the State of Michigan without having Judge           8      correct?
        9       James review it first, and Judge James was upset, so         9   A. That's correct.
       10       she told Magistrate Bowdich and I to write our own          10   Q. Did you ever prepare any attendance data for Judge
       11       letters of reprimand.                                       11      James?
       12    Q. Did you do that for your letter of reprimand?               12   A. Attendance data?
       13    A. I did one, but it was never signed by Judge James.          13   Q. Yes.
       14       She never signed it.                                        14   A. Can you clarify?
       15    Q. Were you ever disciplined for behaving inappropriately      15   Q. Did you ever prepare any data or summary about days
       16       at the office?                                              16      Judge James had been in court?
       17    A. No.                                                         17   A. Yes.
       18    Q. Did you ever engage in any intimate behavior while you      18   Q. Was that also submitted to the State Court
       19       worked at the 22nd District Court at the office?            19      Administrator's Office?
       20    A. No.                                                         20   A. No. Let me clarify. That was submitted to Maggie
       21    Q. Now, you mentioned a moment ago Jeffrey Bowdich,            21      Rynier from the JTC.
       22       correct?                                                    22   Q. That was later, correct?
       23    A. Correct.                                                    23   A. Correct.
       24    Q. He was a magistrate at the 22nd District Court at           24   Q. Were you ever disciplined for preparing attendance
       25       least for a portion of the time you were there,             25      data that was inaccurate?


                                                                  Page 14                                                        Page 16
         1       correct?                                                    1   A. No.
         2   A. Correct.                                                     2   Q. Were you ever directed to come in on a Saturday to
         3   Q. Did Mr. Bowdich ever accuse you of behaving                  3      correct a report that Judge James thought was
         4       inappropriately at the office?                              4      inaccurate that had been submitted to the State Court
         5   A. No.                                                          5      Administrator's Office?
         6   Q. You had an office at the 22nd District Court, correct?       6   A. I don't recall that.
         7   A. Yes.                                                         7   Q. You don't recall any Saturday where you came in along
         8   Q. Was there a sliding glass window at your office at the       8      with Mr. Bowdich to correct a report that had been
         9       22nd District Court?                                        9      submitted?
        10   A. Yes.                                                        10   A. I don't recall that.
        11   Q. That was a clear glass window, is that right?               11   Q. Mr. Bowdich was not your supervisor, is that correct?
        12   A. Yes.                                                        12   A. That's correct.
        13   Q. Did you ever put up any type of covering to cover that      13   Q. So he would not have had the authority to discipline
        14       window?                                                    14      you, is that correct?
        15   A. A covering? No.                                             15   A. That's correct.
        16   Q. So the window was always clear and you could see in?        16   Q. Okay. Did you ever make any complaint about
        17   A. Yes.                                                        17      Mr. Bowdich to Judge James?
        18   Q. Who is Kevin Dokes?                                         18   A. Complaints? No. If I may expound on that.
        19   A. He was a court officer.                                     19   Q. Go ahead.
        20   Q. At the 22nd District Court?                                 20   A. I did tell her that he did sit in his office with his
        21   A. Yes.                                                        21      feet up. If that's a complaint, then yes.
        22   Q. At the time you were there as well, correct?                22   Q. Did you convey that to Judge James orally?
        23   A. Yes.                                                        23   A. Yes.
        24   Q. Did you ever prepare a letter to Mr. Dokes regarding        24   Q. What was her response when you told her that?
        25       his employment under Judge James' signature?               25   A. I don't recall.




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        1   Q. Do you know if she took any action with respect to you       1       representative of the Michigan Judicial Tenure
        2      indicating that Mr. Bowdich was sitting with his feet        2       Commission about Judge James?
        3      up?                                                          3   A. Can you restate that, please.
        4   A. No.                                                          4   Q. Well. Let me ask a slightly different question.
        5   Q. Do you recall if he continued to do that after you had       5   A. Okay.
        6      made that complaint?                                         6   Q. Did you have any communication with the Michigan
        7   A. I don't recall.                                              7       Judicial Tenure Commission about its investigation of
        8   Q. You're aware that there came a time when Judge James         8       Judge James?
        9      was being investigated by the Michigan Judicial Tenure       9   A. Yes.
       10      Commission, correct?                                        10   Q. When was the first communication you had with any
       11   A. Correct.                                                    11       representative of the Judicial Tenure Commission about
       12   Q. Do you recall when you first learned that Judge James       12       Judge James?
       13      was being investigated by the Michigan Judicial Tenure      13   A. I don't have a specific date, but it was after Judge
       14      Commission?                                                 14       James was removed.
       15   A. No, I can't recall. It was five or six years ago.           15   Q. So it was after she was on administrative leave at
       16   Q. Do you recall how you first learned about that?             16       least?
       17   A. Judge James told the whole court, all court employees.      17   A. Correct.
       18   Q. So the first time you learned about the investigation       18   Q. Who did you speak to during the first communication?
       19      into Judge James by the JTC was from Judge James at a       19   A. Deborah Green.
       20      meeting with the court staff?                               20   Q. And was it your impression that Ms. Green was acting
       21   A. Yes.                                                        21       on behalf of the Judicial Tenure Commission?
       22   Q. Was that the same day that Judge James was placed on        22   A. Yes.
       23      administrative leave?                                       23   Q. Did you know Judge -- strike that. I'm sorry.
       24   A. I don't recall.                                             24                 Did you know Ms. Green prior to this
       25   Q. Do you recall what time of day that meeting took            25       conversation?


                                                                 Page 18                                                            Page 20
        1      place?                                                       1   A. I knew who she was. I cannot tell you specifically if
        2   A. Toward the end of the day.                                   2      I met her before this meeting, but I knew who she was
        3   Q. What was your reaction when you heard that?                  3      because I would go to the State Court Administrator
        4   A. I mean, I was surprised.                                     4      meetings once a month.
        5   Q. After you had learned that the investigation was going       5   Q. So did you understand that Ms. Green worked for the
        6      on, what was the next thing you heard about the              6      State Court Administrator's Office?
        7      investigation?                                               7   A. Yes.
        8   A. Judge -- I believe it was Judge James again telling us       8   Q. So focusing again on this first call that you had
        9      that she was going to be removed.                            9      with -- strike that.
       10   Q. Was that at the same meeting you just described or was      10                This was a telephone call with Ms. Green?
       11      that later?                                                 11   A. No, it was not.
       12   A. As I stated, this happened five or six years ago. I         12   Q. Okay. Did Ms. Green come to the courthouse?
       13      don't remember the specifics of, you know, what was         13   A. Yes.
       14      said first or when she was removed, but I thought           14   Q. And you met with her in person?
       15      there was a period of time from when we first found         15   A. Yes.
       16      out she was being investigated to when she was              16   Q. Was anybody else in that meeting the first time you
       17      removed.                                                    17      spoke with Ms. Green?
       18   Q. Okay. And you first found out when Judge James told         18   A. No.
       19      you so that there was a period when Judge James was         19   Q. Do you know if anyone had come with Ms. Green to the
       20      still at the court acting as chief judge before she         20      courthouse?
       21      was placed on administrative leave?                         21   A. I have no idea.
       22   A. That's correct.                                             22   Q. Where did the meeting with Ms. Green take place?
       23   Q. Do you recall how long that time period was?                23   A. In the court administrator's office, my office.
       24   A. No.                                                         24   Q. That would be your office?
       25   Q. What was the first communication you had with any           25   A. Correct.




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        1   Q. And what did Ms. Green say to you during this first          1      had when she arrived at the court?
        2      meeting?                                                     2   A. I do not know that.
        3   A. Everything? I mean, I can't recall everything she            3   Q. Do you know where Ms. Green went when she finished the
        4      said to me.                                                  4      meeting and left your office?
        5   Q. Can you tell me the substance of what she said to you?       5   A. No.
        6   A. She told me that Judge James was under investigation,        6   Q. What did you do after you finished the meeting?
        7      and I believe at that time she asked if there were any       7   A. I don't recall.
        8      documents. She told me -- she said, you know, I could        8   Q. It would be fair to say that you were attempting to
        9      possibly get you immunity if you agree to testify. I         9      cooperate with the request Ms. Green had made?
       10      said immunity from what? I didn't do anything wrong.        10   A. That's correct.
       11   Q. Did Ms. Green tell you the nature of what the JTC was       11   Q. What was the next thing that happened in terms of your
       12      investigating Judge James about?                            12      involvement in the investigation of Judge James after
       13   A. I'm sure she did, but I don't recall specific words         13      your meeting with Ms. Green?
       14      that she used.                                              14   A. I don't recall. I don't know how to answer what was
       15   Q. You indicated she asked you if there were any               15      my next thing.
       16      documents that you had. Is that what she asked you?         16   Q. Do you recall looking for documents to provide?
       17   A. That's correct.                                             17   A. Yes.
       18   Q. And do you recall what sorts of documents she was           18   Q. And one thing you mentioned were maybe there were some
       19      asking for?                                                 19      documents about travel expenses, is that correct?
       20   A. Well, I know that there was an issue regarding travel       20   A. Correct.
       21      expenses and things like that.                              21   Q. Do you recall any other category of documents that you
       22   Q. Now, you also said that Ms. Green said she could get        22      might have been looking for?
       23      you immunity if you testified, is that correct?             23   A. Community service checks.
       24   A. Correct.                                                    24   Q. With respect to the travel expense documents, was it
       25   Q. What did you understand that to mean?                       25      part of your job duties to be the custodian of those



                                                                 Page 22                                                           Page 24
        1   A. That's why I -- I mean, I didn't understand what she         1      documents?
        2      was saying. That's why I said immunity from what. I          2   A. I did not have them all, no.
        3      didn't do anything wrong.                                    3   Q. Well, just to be clear, no, it wasn't part of your
        4   Q. Did Ms. Green answer when you said immunity from what?       4      duties or, no, you just didn't have them all?
        5   A. No.                                                          5   A. It was not part of my duties.
        6   Q. When Ms. Green asked you if you could get her any            6   Q. Okay. With respect to community service checks, was
        7      documents, what did you say to her?                          7      that part of your duties, to be the custodian of those
        8   A. Sure. She was working for the State Court                    8      checks?
        9      Administrator's Office. I had to honor her request.          9   A. Yes.
       10   Q. And did you in fact get her documents at that time?         10   Q. In terms of the categories of documents, two of which
       11   A. No.                                                         11      you could recall right now, right?
       12   Q. Did you subsequently get her documents?                     12   A. Yes.
       13   A. Not her specifically.                                       13   Q. Were those categories both categories that were
       14   Q. Do you recall how long your meeting was with                14      requested of you by Ms. Green or did you come up with
       15      Ms. Green?                                                  15      the categories to deliver?
       16   A. No.                                                         16   A. I did not come up with the categories.
       17   Q. Do you recall if the door to your office was open or        17   Q. Now, you said with respect to travel expenses you were
       18      closed during the meeting?                                  18      able to locate some but not all documents, is that
       19   A. No.                                                         19      right?
       20   Q. Do you know if Ms. Green met with anyone else while         20   A. That's correct.
       21      she was at the court?                                       21   Q. What about on the community service checks? Were you
       22   A. No, I do not.                                               22      able to locate all the community service checks?
       23   Q. Do you recall what time of day the meeting took place?      23   A. I can't say all, but I know I had the majority.
       24   A. No.                                                         24   Q. Okay. When you had compiled those categories of
       25   Q. Do you know if you were the first meeting Ms. Green         25      documents, what did you do with them?




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        1    A. I don't recall.                                            1       James prior to the JTC hearing before the master?
        2    Q. Do you recall whether you ever contacted Ms. Green to      2   A. Oh, yes. We went over the community service check
        3       say I got the categories of documents you mentioned?       3      requests and things like that. We went over Judge
        4    A. I don't recall ever dealing with Deborah Green again.      4      James' time off. We went over how Judge James
        5    Q. Okay. Do you know who Paul Fischer is?                     5      requested reimbursement for travel, things of that
        6    A. Yes.                                                       6      nature.
        7    Q. Did you ever speak to Mr. Fischer in connection with       7   Q. What did you go over with respect to the community
        8       the investigation of Judge James?                          8       service fund?
        9    A. No.                                                        9   A. We went over check by check basically what that check
       10    Q. Do you know who Margaret Rynier is?                       10      was written for, who requested it.
       11    A. Yes.                                                      11   Q. So Ms. Rynier was asking you for that information, and
       12    Q. Did you ever speak to Ms. Rynier in connection with       12       you were able to discern it from your records, is that
       13       the investigation of Judge James?                         13       correct?
       14    A. Yes.                                                      14   A. That's correct.
       15    Q. How many times?                                           15   Q. With respect to time off I think was the second
       16    A. Numerous. I don't recall a specific number.               16       category you mentioned, correct?
       17    Q. Do you recall the first time you spoke with Ms. Rynier    17   A. Correct.
       18       about the investigation of Judge James?                   18   Q. What did you go over in terms of time off with
       19    A. No, I don't recall the first time.                        19       Ms. Rynier?
       20    Q. Do you recall if it was before or after your in-person    20   A. There was a calendar that I had, and there were days
       21       meeting with Ms. Green?                                   21      where Judge James was either at a conference or where
       22    A. After.                                                    22      she didn't come in to work.
       23    Q. Was your contact with Ms. Rynier by phone or in           23   Q. So you shared the calendar with Ms. Rynier?
       24       person?                                                   24   A. Yes.
       25    A. I don't recall if the first contact was by phone or in    25   Q. Was that a paper calendar or an electronic calendar?



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         1       person. I do not recall that.                             1   A. Paper.
         2   Q. Did you call Ms. Rynier or did she call you?               2   Q. And, by the way, with respect to the CSP checks, you
         3   A. I don't think I initiated the phone call.                  3      had like a check register, is that correct?
         4   Q. Do you recall --                                           4   A. There was a check register, but I recall going over
         5   A. If it was a phone call.                                    5      the actual checks.
         6   Q. Well, let me ask this. Have you both -- well, strike       6   Q. So these would be photocopies of canceled checks,
         7       that.                                                     7      would that be correct?
         8                Had you met Ms. Rynier in person before the      8   A. If my memory is correct, there would be a photocopy of
         9       JTC hearing?                                              9      a check and/or a check request.
        10   A. Yes.                                                      10   Q. And those were on paper, right?
        11                MR. COX: Just so we're clear, we're             11   A. Yes.
        12       talking about the actual hearing as opposed to the       12   Q. I think the last category you recalled from your
        13       investigation?                                           13      conversation with Ms. Rynier was reimbursement for
        14                MR. HIRSCH: I'm sorry. You're right.            14      travel expenses, is that correct?
        15   BY MR. HIRSCH:                                               15   A. Correct.
        16   Q. The underlying hearing before the master.                 16   Q. What did you discuss with Ms. Rynier about
        17   A. That's correct.                                           17      reimbursements for travel expenses?
        18   Q. Because we know she questioned you I think at that        18   A. She wanted to know how Judge James was reimbursed for
        19       hearing, correct?                                        19      travel expenses, and I showed her the form that we had
        20   A. Yes, she did.                                             20      that Judge James would fill out saying how much the
        21   Q. Do you recall the substance of your first conversation    21      hotel would cost, how much the air fare would cost, a
        22       with Ms. Rynier?                                         22      per diem for her expenses, and that request would be
        23   A. No, I do not.                                             23      sent over to the City of Inkster, and they would issue
        24   Q. Do you recall the substance of any conversations you      24      Judge James a check.
        25       had with Ms. Rynier about the investigation with Judge   25   Q. With respect to the reimbursement for travel, had you




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        1      suggested there was anything improper about any           1   Q. Did anybody ever ask you for any input as to who
        2      reimbursements?                                           2      should serve as interim judge?
        3   A. No.                                                       3   A. No.
        4   Q. With respect to the calendar with days off, did you       4   Q. Did you know Judge Washington before the time he
        5      suggest there was any problem with the days off that      5      served as interim judge?
        6      were taken by Judge James?                                6   A. No.
        7   A. I just indicated that she was off a lot.                  7   Q. So fair to say the first time you met Judge Washington
        8   Q. And with respect to the checks you reviewed with          8      was when he came in to serve as interim judge, is that
        9      Ms. Rynier for the community service program, did you     9      correct?
       10      suggest there was anything improper about any of those   10   A. That's correct.
       11      checks?                                                  11   Q. Did Judge Washington meet with you when he came in to
       12   A. No.                                                      12      serve as interim judge?
       13   Q. Did you ever speak to Cas Swastek?                       13   A. Yes.
       14   A. No.                                                      14   Q. Was that a solo meeting, just you and Judge
       15   Q. Just to be sure your recollection is correct, he is      15      Washington?
       16      another examiner with the Judicial Tenure Commission.    16   A. Yes.
       17      Does that ring any bells?                                17   Q. Where did that meeting take place?
       18   A. No. No.                                                  18   A. I believe it was in the jury room.
       19   Q. Okay. Did you ever speak to any of Judge James'          19   Q. What did you discuss with Judge Washington at this
       20      attorneys? And, again, prior to the JTC hearing where    20      meeting?
       21      I know they questioned you.                              21   A. I don't recall.
       22   A. No.                                                      22   Q. Did Judge Washington indicate that he would make a
       23   Q. Do you recall whether any of Judge James' attorneys      23      decision as to whether you would remain as court
       24      attempted to contact you?                                24      administrator?
       25   A. From my recollection, they did not.                      25   A. No.


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        1   Q. And you did not attempt to contact them, correct?         1   Q. Did Judge Washington ask you for any documents at that
        2   A. No. That's correct.                                       2      meeting?
        3   Q. Did you have any communication with Judge James from      3   A. No.
        4      the time she was placed on administrative leave until,    4   Q. There came a point when Mr. Bowdich was removed from
        5      let's say, the JTC hearing?                               5      his position as magistrate, is that correct?
        6   A. No, I did not.                                            6   A. That's correct.
        7   Q. Do you recall there was an interim judge who came in      7   Q. Was that before or after Judge Washington was
        8      to replace Judge James when she was placed on             8      appointed?
        9      administrative leave?                                     9   A. After.
       10   A. Yes.                                                     10   Q. Do you recall when Mr. Bowdich was removed as
       11   Q. When did you first hear that an interim judge was        11      magistrate?
       12      going to come in?                                        12   A. No.
       13   A. I don't recall. Of course after Judge James was          13   Q. Did you have any involvement in that decision?
       14      removed, but I don't know when I was told.               14   A. No.
       15   Q. Do you recall who told you?                              15   Q. You were appointed as magistrate after Mr. Bowdich was
       16   A. No.                                                      16      removed, is that correct?
       17   Q. Who was the interim judge who replaced Judge James       17   A. That's correct.
       18      when she was placed on leave?                            18   Q. Did you apply for that position?
       19   A. Valdemar Washington.                                     19   A. Yes, I did.
       20   Q. Do you know how Judge Washington was selected to serve   20   Q. Do you know if anyone else applied for that position?
       21      as interim judge?                                        21   A. Yes.
       22   A. No, I do not.                                            22   Q. Do you know how many other people applied for that
       23   Q. Do you know who selected Judge Washington to serve as    23      position?
       24      interim judge?                                           24   A. No, I do not.
       25   A. No, I do not.                                            25   Q. Do you know who made the decision to appoint you as




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        1       magistrate?                                              1      be on the lookout for?
        2   A. Judge Washington.                                         2   A. Documents relating to community service and travel of
        3   Q. Did someone come in then to replace you as court          3      Judge James, travel expenses.
        4       administrator or did you continue to do both sets of     4   Q. And you did that I presume? You stayed on the
        5       duties?                                                  5      lookout, is that right?
        6   A. I continued both.                                         6   A. Yes.
        7   Q. Did Judge Washington invite you to apply for the          7   Q. Did you ever find any of those categories of
        8       position of magistrate?                                  8      documents?
        9   A. I don't know what you mean by invite.                     9   A. Yes.
       10   Q. Well, how did you learn that applications for the        10   Q. And what did you do with them when you found them?
       11       position of magistrate would be accepted?               11   A. I believe I showed them to Judge Washington, and I
       12   A. Through Judge Washington.                                12      know ultimately Maggie Rynier received the documents.
       13   Q. That would be orally or --                               13   Q. When you say ultimately Ms. Rynier received the
       14   A. Yes, orally.                                             14      documents, did you give them to Ms. Rynier?
       15   Q. Had you previously applied for the position of           15   A. I don't recall the chain of command, if they went from
       16       magistrate of the 22nd District Court?                  16      me directly to her or from me to Judge Washington to
       17   A. No.                                                      17      Ms. Rynier.
       18   Q. Where were you living at the time you were appointed     18   Q. Did you keep any copy of what you gave to either Judge
       19       magistrate?                                             19      Washington or Ms. Rynier?
       20   A. In Inkster.                                              20   A. I don't recall. Me personally? I don't have any
       21   Q. Did you also have another residence at that time?        21      documents, if that's where you're going.
       22   A. Yes.                                                     22   Q. Well, today you don't have any documents?
       23   Q. Where was your other residence?                          23   A. No, I do not have any documents.
       24   A. In Wayne.                                                24   Q. But you don't recall whether you may have made a copy
       25   Q. Was the place you were living in Inkster your mother's   25      at the time, right?



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        1      home?                                                     1   A. Right. I don't recall.
        2   A. Yes.                                                      2   Q. If you did, you would have left those at the court.
        3   Q. Were you an elector in the City of Inkster at that        3       You certainly wouldn't have taken those with you after
        4      time?                                                     4       you left?
        5   A. Yes.                                                      5   A. That's correct.
        6   Q. Did Judge Washington use Judge James' former office as    6   Q. We haven't quite gotten there, but you are no longer
        7      his office?                                               7       employed by the 22nd District Court?
        8   A. Yes.                                                      8   A. That's correct.
        9   Q. Was there any clean-up done of Judge James' office        9   Q. Do you know whether Judge Washington ever conducted a
       10      before Judge Washington moved in?                        10       search of Judge James' office?
       11   A. No.                                                      11   A. I don't know.
       12   Q. Was there any clean-up done of Judge James' office       12   Q. Did Judge Washington ever ask you to conduct a search
       13      after Judge Washington moved in?                         13       of Judge James' office?
       14   A. Yes.                                                     14   A. No, he did not.
       15   Q. Were you involved in that clean-up?                      15   Q. Do you know whether Judge Washington ever asked any
       16   A. No.                                                      16       other staff member of the 22nd District Court to make
       17   Q. Who was?                                                 17       a search of Judge James' office?
       18   A. Judge Washington and Nicole James.                       18   A. I do not know.
       19   Q. Do you know whether Judge Washington ever -- well,       19   Q. You were familiar with Judge James' office at the
       20      strike that.                                             20       courthouse, correct?
       21              Did Judge Washington ever ask you to search      21   A. Yes.
       22      for any documents regarding Judge James?                 22   Q. Was there a lock on Judge James' office door?
       23   A. To be on the lookout for them, so to speak, not to       23   A. Yes.
       24      search.                                                  24   Q. Do you know who had the keys to that lock, the office
       25   Q. What sort of documents did Judge Washington ask you to   25       door lock?




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        1   A. At what point in time?                                         1      office?
        2   Q. While Judge James was the chief judge of the court, do         2   A. Because Judge James would leave the bathroom door
        3      you know who had the keys to the door to her office?           3      open, and when I would go in there to speak to Judge
        4   A. Yes.                                                           4      James, you could see the safe. I believe it was under
        5   Q. Who had the keys?                                              5      the sink.
        6   A. Judge James and Nicole James.                                  6   Q. Do you know whether that safe was owned by Judge James
        7   Q. You did not have a key?                                        7      or whether it was owned by the court?
        8   A. I did not.                                                     8   A. I don't know.
        9   Q. How do you know Nicole James had a key?                        9   Q. By the way, you said when you were hired Judge James
       10   A. It was just known. Nicole James was the court                 10      was already there, right? She hired you?
       11      reporter, so she had to go in Judge James' office             11   A. Correct.
       12      periodically to get -- retrieve items, so the only two        12   Q. Was the safe there when you first got there?
       13      people who ever had a key to Judge James' office while        13   A. I don't know when it was placed there.
       14      I was there was the court reporter and Judge James.           14   Q. Did you not have a key to the safe, correct?
       15   Q. When Judge James was --                                       15   A. No.
       16   A. I'm sorry. Not court reporter, judicial secretary.            16   Q. Was it a lock with a key that had to be used to the
       17   Q. When Judge James was placed on administrative leave,          17      safe or you don't know?
       18      do you know whether she gave her office key to anyone?        18   A. I don't know.
       19   A. No, I do not know that.                                       19   Q. To the extent there was a combination, you didn't have
       20   Q. When Judge James was placed on administrative leave,          20      the combination, would that be correct?
       21      she left for the last time before being placed on             21   A. If there was a combination, that's correct. I did not
       22      leave, do you know whether her office door was locked         22      have that, either.
       23      or unlocked?                                                  23   Q. So if the safe was locked, you couldn't get into it,
       24   A. I do not know that.                                           24      correct?
       25   Q. I take it you don't know whether the door was                 25   A. That's correct.



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        1       physically open or closed, correct?                           1   Q. Did you enter what had been Judge James' office after
        2   A. That's correct. I do not know. I left before Judge             2      she was placed on leave --
        3       James left.                                                   3   A. Yes.
        4   Q. Now, you did tell me that when Judge Washington came           4   Q. -- when Judge Washington was there?
        5       he did use Judge James' office, right?                        5   A. Yes.
        6   A. Correct.                                                       6   Q. Would you enter only when Judge Washington was present
        7   Q. Do you recall if he had any difficulty entering Judge          7      or would you enter at other times?
        8       James' office when he got there?                              8   A. I may have entered at other times to place a file on
        9   A. I don't know that.                                             9      his desk, but I didn't go and sit in there.
       10   Q. He never asked you to open the door, correct?                 10                 MR. COX: Doing okay?
       11   A. Correct.                                                      11                 THE WITNESS: Mm-hum.
       12   Q. Did you get a key to Judge James' office at that time,        12                 MR. HIRSCH: Yeah. I mean, if you want
       13       in other words, when Judge Washington came in and it         13      to --
       14       was his office?                                              14                 THE WITNESS: I'm fine.
       15   A. I don't recall if I did or not because Judge                  15                 MR. HIRSCH: You let us know.
       16       Washington never locked the door.                            16   BY MR. HIRSCH:
       17   Q. There was a private bathroom in Judge James' office,          17   Q. When you were in the office during Judge Washington's
       18       is that correct?                                             18      tenure, did you notice whether the safe was open or
       19   A. Yes.                                                          19      closed?
       20   Q. Did you ever use that restroom?                               20   A. No, I did not.
       21   A. No.                                                           21   Q. So you don't know one way or the other during that
       22   Q. Are you aware there was also a safe in Judge James'           22      time, correct?
       23       office?                                                      23   A. No.
       24   A. Yes.                                                          24                 MR. COX: I'm sorry. You said during Judge
       25   Q. How did you first become aware there was a safe in her        25      James' tenure or Judge Washington's?




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        1               MR. HIRSCH: Let me reask the question.           1   A. No.
        2      Actually, can you read the question back, make sure we    2   Q. You just left and went back to your office, is that
        3      get it right.                                             3      correct?
        4               (The requested portion of the record was         4   A. From what I recall, yes.
        5               read by the reporter at 3:31 p.m.)               5   Q. Judge Washington was close enough that he would have
        6               THE WITNESS: Correct.                            6      heard you say these are tax returns, correct?
        7   BY MR. HIRSCH:                                               7   A. Yes.
        8   Q. Did there ever come a time when you saw that the safe     8   Q. Could you tell how much paper was in the safe?
        9      had been opened?                                          9   A. No. I would be guessing.
       10   A. That the safe was open?                                  10   Q. During the time Judge James was the chief judge, did
       11   Q. Yes, opened.                                             11      she ever tell you that no one was to go in her safe?
       12   A. Yes.                                                     12   A. No.
       13   Q. When was that?                                           13   Q. After Judge James was placed on administrative leave,
       14   A. I don't recall the exact day, specific date.             14      did anyone ever tell you that no one was supposed to
       15   Q. Do you recall why it was you were in the office when     15      access Judge James' safe?
       16      you noticed the safe was open?                           16   A. No.
       17   A. It was brought to my attention. Judge Washington         17   Q. And you never saw anyone actually open the safe,
       18      called me back to his office.                            18      correct?
       19   Q. And when Judge Washington called you back to his         19   A. I did not.
       20      office, what did he say?                                 20   Q. A few minutes ago we talked about whether there'd been
       21   A. He said look, there's documents in the safe.             21      any clean-up of Judge James' then former office when
       22   Q. Were you standing in the office area or were you in      22      she was placed on administrative leave, correct?
       23      the restroom area where the safe was?                    23   A. Yes.
       24   A. At that time in the office area.                         24   Q. And you told me that Judge Washington and Nicole James
       25   Q. And so the door to the safe was physically open then?    25      had done some clean-up, is that correct?


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        1   A. It was ajar, yes.                                         1   A. Correct.
        2   Q. Well, you said Judge Washington said, look, there's       2   Q. Did you witness the clean-up?
        3      documents in the safe, is that correct?                   3   A. No, not really. I mean, when Judge Washington was
        4   A. Correct.                                                  4      sitting in there, he was going through paperwork. I
        5   Q. Could you see -- was the door open far enough to see      5      don't know if that's clean-up or not.
        6      there were documents in the safe?                         6   Q. So you did not see what was being moved or removed, if
        7   A. I don't recall that, to be honest.                        7      anything was, right?
        8   Q. And what did you say to Judge Washington when he          8   A. That is correct.
        9      pointed that out to you?                                  9   Q. So you couldn't tell me what they may have discarded
       10   A. I walked over to the safe. I looked in. I saw there      10      or anything else, correct?
       11      were documents. The safe was ajar just enough where      11   A. That's correct.
       12      you could fit your hand in. I reached in. I pulled       12   Q. But you know they were cleaning because you could
       13      out a document. I said, oh, these are tax returns,       13      observe them walking in and out of the office? I
       14      and I put the document back in the safe.                 14      mean, how is it that you knew they were cleaning up?
       15   Q. Was Judge Washington with you when you pulled out the    15   A. Well, Judge James was a pack rat, so you could tell
       16      document?                                                16      daily the papers were getting less and less. Stacks
       17   A. Yes.                                                     17      were getting smaller and smaller.
       18   Q. And what did he say to you after you looked at the       18   Q. So you know what the office looked like when Judge
       19      document and put it back?                                19      James was there, correct?
       20   A. I don't recall.                                          20   A. Correct.
       21   Q. Did you do anything else with respect to those           21   Q. As you described, there were stacks of paper, correct?
       22      documents at that time?                                  22   A. Papers, files, yes.
       23   A. No.                                                      23   Q. She was a pack rat?
       24   Q. Anything else said during your discussion with Judge     24   A. Yes.
       25      Washington at that time?                                 25   Q. A lot of stuff?




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        1   A. Yes.                                                         1   A. No, they did not. That was the first and last time it
        2   Q. And you noticed that when Judge Washington took over,        2      was ever brought up.
        3      as time progressed, those stacks got much smaller,           3   Q. And did anyone ever suggest that they could make sure
        4      right?                                                       4      you were able to keep your law license in connection
        5   A. Correct.                                                     5      with the investigation of Judge James?
        6   Q. The office was -- had less stuff in it, is that fair         6   A. No.
        7      to say?                                                      7   Q. You would agree with me that there were documents that
        8   A. That's a fair statement.                                     8      were removed from Judge James' office, right?
        9   Q. But you don't know where the stuff that had been in          9   A. What do you mean by the word documents?
       10      the office when Judge James was there went to, is that      10   Q. Well, some of those either stacks or files, right,
       11      correct?                                                    11      were removed from her office because you said that the
       12   A. That's correct.                                             12      stacks were depleted after Judge James had left,
       13   Q. Did you ever discuss with Nicole James what she was         13      correct?
       14      removing or cleaning up in the office?                      14   A. But I'm making an assumption that they were removed.
       15   A. No, I did not.                                              15      I don't know what happened to them.
       16   Q. Did you ever discuss that same thing with Judge             16   Q. They weren't still there, right? They weren't in the
       17      Washington?                                                 17      office?
       18   A. No.                                                         18   A. Correct. That's a correct assumption.
       19   Q. When you said that you reached your hand into the safe      19   Q. You don't know were they went, but they weren't in the
       20      and you took something out, was it a single sheet of        20      office anymore, right?
       21      paper or did you take out a stack?                          21   A. I don't know that. I mean, I don't know if Judge
       22   A. I took out the first -- it was stapled together. I          22      Washington put them somewhere else. I didn't go and
       23      don't know how many pages. It was like a tax return.        23      look for documents or anything in Judge James' office
       24   Q. And did you see whose tax return it was?                    24      so I don't know.
       25   A. I didn't look that close.                                   25   Q. So it's possible that the documents weren't removed



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        1   Q. Okay. Do you recall whether you spoke with Ms. Green         1       but things were reorganized in such a way that it
        2       after Judge James was placed on leave about a problem       2       appeared there were less documents?
        3       with bench warrants?                                        3   A. Could have been, correct.
        4   A. I don't recall that.                                         4   Q. You did not provide any instructions to Nicole James
        5   Q. As the JTC investigation of Judge James continued, did       5       in terms of what she was supposed to be doing in
        6       you learn that the JTC was alleging Judge James had         6       either tidying or clearing out Judge James' office, is
        7       committed misconduct?                                       7       that correct?
        8   A. Yes.                                                         8   A. No, I did not.
        9   Q. Do you recall when you first learned that?                   9   Q. Do you know whether Judge Washington instructed Nicole
       10   A. No.                                                         10       James?
       11   Q. Were you ever concerned that your own bar license           11   A. No, I do not.
       12       could be in jeopardy as a result of this                   12   Q. Did Judge Washington lock the office door at night
       13       investigation?                                             13       when he was done for the day?
       14   A. No.                                                         14   A. Usually not. He had an open-door policy.
       15   Q. Were you ever concerned that you may have violated          15   Q. But he did have a key to the office, correct?
       16       some rule of conduct?                                      16   A. Correct.
       17   A. No.                                                         17   Q. And did you have a key at this time?
       18   Q. You mentioned that during your first in-person              18   A. I think I testified earlier I don't recall.
       19       conversation with Deborah Green, she said maybe she        19   Q. You don't recall. Do you know where Judge Washington
       20       could get you immunity, correct?                           20       got his key to the office?
       21   A. Correct.                                                    21   A. No, I do not.
       22   Q. And you were concerned by that statement, correct?          22   Q. Do you recall that there was some material that was
       23   A. That's correct.                                             23       packed up by Nicole James that went into your office?
       24   Q. Did anyone else ever discuss getting you immunity with      24   A. Yes.
       25       respect to the investigation of Judge James?               25   Q. Do you recall there were four boxes of stuff that went




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        1      into your office?                                         1      process, correct?
        2   A. That sounds accurate.                                     2   A. Initially I may have -- like I indicated, I started
        3   Q. Did you ever review what was in those boxes?              3      going through to see what was in the boxes, but I did
        4   A. Briefly, yes.                                             4      not go through everything.
        5   Q. What was in them?                                         5   Q. So you can't really be sure what was shredded,
        6   A. Old registers of actions, old pleas by mails. They        6      correct?
        7      were from like the 1990s. There were files, court         7   A. That's a fair statement.
        8      files, old court files, newspapers, bags,                 8   Q. You did not keep a log of what was shredded, correct?
        9      miscellaneous garbage type things.                        9   A. Correct.
       10   Q. Did you understand that that was material that had       10   Q. Do you know whether anyone else made a log or index of
       11      been removed from Judge James' former office?            11      what was shredded?
       12   A. I honestly I don't know where she got it from because    12   A. I do not know that.
       13      Judge James had a table sitting outside her office       13   Q. Do you recall whether you had seen the one document
       14      that was packed with papers and so forth, old files.     14      from the safe before or after you gave these
       15      I don't know where Nicole got those boxes from.          15      directions to Ms. Purdy to sort through and shred some
       16   Q. Did Nicole James tell you why she was bringing those     16      documents from these boxes?
       17      four boxes to your office?                               17              MR. COX: I'm sorry. Did you stay the one
       18   A. I don't remember.                                        18      document?
       19   Q. You did not review everything in those boxes, correct?   19              MR. HIRSCH: Yeah.
       20   A. I can't say that I did, no.                              20   BY MR. HIRSCH:
       21   Q. What did you do with those four boxes?                   21   Q. You said when you went into the safe you looked at a
       22   A. They were given to Brianna Purdy. Her name at the        22      single document, might have been stapled together, but
       23      time was Brianna Burdon, and she was instructed to       23      you thought it was one document, right?
       24      shred the old registers of actions and pleas by mail     24   A. That's correct.
       25      and to take care of the court files that were located    25   Q. So to sort of get the timeline, do you recall if that



                                                              Page 50                                                           Page 52
        1      inside.                                                   1        occurred before or after you had given these
        2   Q. And you gave Ms. Purdy that direction?                    2        directions to Ms. Purdy about these four boxes?
        3   A. Yes.                                                      3    A. I don't recall.
        4   Q. Do you know if Ms. Purdy did that?                        4    Q. You provided an affidavit in this case, correct?
        5   A. I believe she did, yes.                                   5    A. Correct.
        6   Q. Did Ms. Purdy ever report back to you about whether       6                  MR. HIRSCH: Let's mark this as Exhibit 1,
        7      she had found any other documents in those boxes?         7        please.
        8   A. No, she did not.                                          8                  MARKED FOR IDENTIFICATION:
        9   Q. And so far as you know, the documents you directed to     9                  DEPOSITION EXHIBIT 1
       10      be shredded, old registers of actions and court          10                  3:50 p.m.
       11      dockets were shredded, and the files would have been     11    BY MR. HIRSCH:
       12      stored?                                                  12    Q. In paragraph -- well, strike that. First, this is the
       13   A. Old registers of actions and pleas by mail, not court    13        affidavit you provided in this case, correct?
       14      dockets, and the files, I don't know what Ms. Purdy      14    A. Yes.
       15      did with the files.                                      15    Q. In Paragraph 15 of your affidavit you say I did not
       16   Q. She wasn't supposed to shred those, though?              16        know or suspect that Plaintiff may have a fourth
       17   A. That's correct.                                          17        amendment right related to her office or safe,
       18   Q. So Ms. Purdy would have had to go through to figure      18        correct?
       19      out what was what, right?                                19    A. Correct.
       20   A. Yes.                                                     20    Q. You certainly do agree that people have a right to
       21   Q. You hadn't sorted it into stacks or anything. She had    21        privacy under the fourth amendment, correct?
       22      to go through the boxes according to your directions     22    A. Correct.
       23      of categories, right?                                    23    Q. You practiced some criminal law, is that correct?
       24   A. That's correct.                                          24    A. Correct.
       25   Q. You did not participate, though, in that sorting         25    Q. It would be fair to say you're generally familiar with




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        1       the provisions of the fourth amendment, correct?          1   Q. And although you didn't know whether the safe was
        2   A. Generally, yes.                                            2      locked or not, you've already testified you certainly
        3                 MR. COX: I guess I'm going to object to         3      didn't have a key to it.
        4       your asking her questions of legal opinions. I            4   A. That's correct.
        5       recognize it's part of the claim in defense, but I'm      5   Q. All right. You didn't know the combination if there
        6       just doing that for the record.                           6      was a combination lock, correct?
        7                 MR. HIRSCH: Understood.                         7   A. That's correct.
        8   BY MR. HIRSCH:                                                8   Q. Did there come a point when Judge Hammer also came to
        9   Q. In any of the cases you handled when you were an           9      the 22nd District Court?
       10       attorney, do you recall if you ever had to litigate      10   A. Yes.
       11       the issue of whether a search was improper under the     11   Q. When was that?
       12       fourth amendment?                                        12   A. I don't remember the exact date.
       13   A. No, I did not.                                            13   Q. What was Judge Hammer's role?
       14   Q. So based on whatever knowledge you had about the          14   A. Judge Washington was no longer there so --
       15       fourth amendment, you did not believe that that would    15   Q. So they didn't overlap, is that correct?
       16       apply to Judge James' office or safe, correct?           16   A. No.
       17   A. No, I did not.                                            17   Q. Did you ever request that Judge Washington remain
       18                 MR. COX: I'm also going to object. It          18      instead of bringing in Judge Hammer?
       19       assumes a fact not in evidence. I don't know that she    19   A. Yes.
       20       ever said she knew it was Judge James' safe.             20   Q. When do you that?
       21   BY MR. HIRSCH:                                               21   A. I don't recall the exact date.
       22   Q. Just to reask it then, with respect to the safe in        22   Q. To whom did you make that request?
       23       Judge James' office. I don't think that would change     23   A. I believe it was to the State Court Administrator's
       24       your answer, but do you understand my question?          24      Office because they wouldn't extend Judge Washington's
       25   A. No. Will you restate it, please.                          25      time.



                                                               Page 54                                                              Page 56
        1   Q. Yes. So given whatever knowledge you had of the            1   Q. Why did you make that request?
        2      fourth amendment at the time, you did not believe that     2   A. All court employees felt the same way, because we
        3      applied -- well, strike that. I lost my question. I        3       really liked Judge Washington.
        4      may go back to it. I'm sorry.                              4   Q. Do you know whether Judge Washington wanted to stay
        5              You did know there was a lock on the office        5       on?
        6      door, correct?                                             6   A. He said he wanted to, yes.
        7   A. Yes.                                                       7   Q. Did you know Judge Hammer before he came to the 22nd
        8   Q. And you did know that the safe was locked, correct?        8       District Court?
        9   A. No.                                                        9   A. Yes.
       10   Q. You knew that at some point it was locked, correct?       10   Q. How did you know Judge Hammer before that time?
       11   A. I don't think I've ever testified to that. I don't        11   A. I've practiced before Judge Hammer.
       12      know if it was locked or unlocked. I don't know that.     12   Q. Did you have any opinion about Judge Hammer?
       13   Q. So you could only observe that it was closed, is that     13   A. I liked Judge Hammer.
       14      what you're saying?                                       14   Q. So you liked both. It was just that Judge Washington
       15   A. Correct.                                                  15       was there and things had been working out?
       16   Q. But you don't know whether Judge James actually locked    16   A. That's correct.
       17      it, correct?                                              17   Q. Did you stay on as magistrate when Judge Hammer
       18   A. That's correct.                                           18       arrived?
       19   Q. And I think you also testified that Judge James did       19   A. Yes.
       20      not leave her office door open when she was there,        20   Q. Ultimately you were terminated from your position at
       21      correct?                                                  21       22nd District Court, correct?
       22   A. Correct.                                                  22   A. I was laid off.
       23   Q. Sort of a contrast to what you call Judge Washington's    23   Q. Why were you laid off?
       24      open door?                                                24   A. I have no idea.
       25   A. That's correct.                                           25   Q. Do you know who laid you off?




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        1   A. Judge Hammer.                                             1   A. Yes.
        2   Q. That was on March 16th, 2012, correct?                    2   Q. Does that refresh your recollection that you did sue
        3   A. Yes.                                                      3       Judge James?
        4   Q. Do you recall how long Judge Hammer had been in place     4   A. Yes.
        5      prior to the time you were laid off on March 16th,        5   Q. And this would be a copy of the first amended
        6      2012?                                                     6       complaint in your lawsuit, correct?
        7   A. I would be guessing.                                      7   A. Correct.
        8   Q. Did you have any issues with Judge Hammer when he came    8   Q. Is it fair to say that in your complaint you allege
        9      on?                                                       9       you were discharged in violation of Michigan Whistle
       10   A. No.                                                      10       Blowers Protection Act?
       11   Q. Do you know who was appointed to replace you as          11   A. Correct.
       12      magistrate after you were laid off?                      12   Q. And you allege that part of the reason for that was
       13   A. No, I do not.                                            13       that you participated, assisted and/or testified in
       14   Q. Do you know -- well, strike that. Do you know whether    14       the investigation and/or inquiries of Judge Sylvia
       15      a new magistrate was hired?                              15       James by the Michigan Judicial Tenure Commission
       16   A. I have no idea. To this day I do not know.               16       and/or defendants, correct?
       17   Q. Do you know whether a new court administrator was        17   A. Correct.
       18      hired?                                                   18   Q. And here you would be referring to your cooperation
       19   A. Yes.                                                     19       with the JTC, is that correct?
       20   Q. Do you know who that was?                                20   A. Correct.
       21   A. Pricilla Gibbs.                                          21   Q. And when you say and/or defendants, the other
       22   Q. Was she an existing employee of the 22nd District        22       defendants in this case are the City of Inkster and
       23      Court?                                                   23       the 22nd District Court, is that correct?
       24   A. Yes.                                                     24   A. Correct.
       25   Q. So she changed positions essentially?                    25   Q. Did the City of Inkster conduct an investigation into


                                                             Page 58                                                         Page 60
        1   A. Yes.                                                      1      Judge James?
        2   Q. What was her position before she became court             2   A. Not that I know about. I have no idea.
        3       administrator?                                           3   Q. So you certainly didn't participate in such an
        4   A. Court reporter.                                           4      investigation if there was one, right?
        5   Q. You filed a lawsuit as a result of your being laid        5   A. That's correct.
        6       off, correct?                                            6   Q. Did the 22nd District Court conduct an investigation
        7   A. Yes.                                                      7      into Judge James?
        8   Q. And you sued Judge James and other people as well,        8   A. The court is an entity, so there's no way the court
        9       correct?                                                 9      could have conducted an investigation.
       10   A. I don't recall if it was Judge James.                    10   Q. You understand that entities can act through their
       11                 MR. HIRSCH: Can we mark this as Exhibit 2,    11      representatives, correct?
       12       please.                                                 12   A. Then the court did through Judge Washington.
       13                 MARKED FOR IDENTIFICATION:                    13   Q. You assisted Judge Washington in that investigation?
       14                 DEPOSITION EXHIBIT 2                          14   A. I didn't assist Judge Washington per se.
       15                 3:58 p.m.                                     15   Q. And when you say in Paragraph 13 of your complaint
       16   BY MR. HIRSCH:                                              16      that one of the reasons was testifying in the
       17   Q. Just to clear up the record, I don't know if I said      17      investigation. You see that portion of Paragraph 13?
       18       it, we had marked as Exhibit 1 your affidavit,          18   A. Yes.
       19       correct?                                                19   Q. That you would be referring to your testimony at the
       20   A. Yes.                                                     20      JTC hearing before the master, correct?
       21   Q. What I just handed you is Exhibit 2. It's a document     21   A. That's correct.
       22       entitled first amended complaint and reliance upon      22   Q. Was there any other testimony you provided that you'd
       23       jury demand for a case in the Wayne County Circuit      23      be referring to there?
       24       Court, Case Number 12-009443-CZ. Do you have that in    24   A. No.
       25       front of you?                                           25   Q. Referencing Paragraph 15 of your complaint, you say




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        1      that Judge James, I'm quoting this part now, reacted      1    A. Correct.
        2      with displeasure to the way Pamela Anderson,              2    Q. What did you do to prepare for your deposition today?
        3      Plaintiff, participated in the investigation slash        3    A. I met with my attorneys.
        4      inquiries and started to accuse her and make baseless     4    Q. And I don't want to know what you said with your
        5      accusations regarding Plaintiff. Do you see that?         5        attorneys, but when did you meet with them?
        6   A. Yes.                                                      6    A. In August and briefly ten minutes today.
        7   Q. How did Judge James react with displeasure to the way     7    Q. Okay. How long was the meeting in August?
        8      you participated in the investigation?                    8    A. Maybe two hours.
        9   A. Well, she wasn't happy that I was helping the JTC.        9    Q. Other than what we've discussed today during your
       10   Q. So I think your testimony was that the first time you    10        testimony, did you have any other conversations with
       11      learned that the JTC was investigating was when Judge    11        anyone about the JTC investigation of Judge James?
       12      James had told you that, correct?                        12    A. No.
       13   A. That's correct.                                          13    Q. If you'd give me a moment to go through my notes, I'm
       14   Q. Just before she was placed on administrative leave?      14        probably done or very close to done.
       15   A. Correct.                                                 15                 (Off the record at 4:07 p.m.)
       16   Q. And then I think you said you did not have any contact   16                 (Back on the record at 4:12 p.m.)
       17      with Judge James until it -- well, no contact with       17    BY MR. HIRSCH:
       18      Judge James at least until the JTC hearings began, is    18    Q. Ma'am, in your affidavit which we marked as Exhibit 1,
       19      that correct?                                            19        in Paragraph 9 you talk about Judge Washington asking
       20   A. That's correct.                                          20        Nicole James to review the documents in Plaintiff
       21   Q. So when was it that Judge James reacted with             21        James' office and put any documents that Plaintiff
       22      displeasure?                                             22        James might want or need into bags. Do you see that
       23   A. I don't recall the specific time, and if I may say,      23        portion of Paragraph 9?
       24      this was something drafted by my attorney.               24    A. Yes.
       25   Q. Well, ultimately this case was dismissed, is that        25    Q. How do you know that?


                                                              Page 62                                                                Page 64
        1       correct?                                                 1   A. The only thing that I can tell you in this regard is
        2   A. That's correct.                                           2      that Judge Washington asked me to help clean out Judge
        3   Q. With respect to your affidavit, Exhibit 1, everything     3      James' office and I said no, I did not feel
        4       in here is true and correct, is that right?              4      comfortable doing that, and he said I'll get Nicole to
        5   A. That's correct.                                           5      do it because Nicole James was her niece.
        6   Q. With respect to your testimony at the JTC hearing, was    6   Q. Just to be clear here, though, did you hear Judge
        7       all your testimony true and correct?                     7      Washington giving directions to Nicole James?
        8   A. Yes.                                                      8   A. No.
        9               MR. COX: I'm sorry. Just for                     9   Q. So you're presuming the instructions Judge Washington
       10       clarification, you're not talking in front of the       10      gave to Nicole James based on what he had asked you to
       11       master. You're talking in front of the subsequent       11      do that you didn't feel comfortable doing, is that
       12       one, is that correct?                                   12      correct?
       13               MR. HIRSCH: No. I think the testimony was       13   A. That's a fair statement.
       14       only in front of the master. I apologize. You're        14   Q. And in Paragraph 9 you say that this occurred at some
       15       right, Mr. Cox. I apologize.                            15      point in 2011, correct?
       16   BY MR. HIRSCH:                                              16   A. Correct.
       17   Q. The testimony was taken in front of the master where     17   Q. Couldn't really pinpoint it there. My question is do
       18       you were sworn in?                                      18      you recall if this occurred before or after Nicole
       19   A. That's correct.                                          19      James brought you those four boxes?
       20   Q. And that testimony is all true and correct?              20   A. I don't recall.
       21   A. That's correct.                                          21   Q. And other than the day you told me about when you and
       22   Q. You weren't at the actual JTC commission hearing on      22      Judge Washington were in the office and you saw the
       23       the Judge James' case?                                  23      safe was open or ajar, open a little bit, right?
       24   A. No.                                                      24   A. Right.
       25   Q. And certainly there was no testimony?                    25   Q. Had Judge Washington made any comments about the safe




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        1      prior to that time?                                       1      the City of Inkster, the 22nd District Court or by
        2   A. No.                                                       2      Judge James?
        3   Q. Had Judge Washington ever made any comment about          3   A. I don't know who owned it.
        4      wanting to open the safe?                                 4   Q. Okay. And at the time when Judge Washington asked --
        5   A. No.                                                       5      noted the documents, you didn't know who owned it at
        6   Q. I have nothing further. Thank you.                        6      that point?
        7              MR. COX: Ma'am, just two or three                 7   A. That's correct.
        8      questions. The same rules apply. If you don't             8   Q. Okay. I have nothing further.
        9      understand what I'm asking, please ask me to clarify      9              MR. POWE: I have nothing.
       10      or restate, okay?                                        10              MR. RATLIFF: No questions.
       11              THE WITNESS: Okay. Sure.                         11              MR. HIRSCH: I have nothing else. Thank
       12                    EXAMINATION                                12      you.
       13   BY MR. COX:                                                 13              (The deposition was concluded at 4:17 p.m.
       14   Q. The first thing Mr. Hirsch covered with you early on     14          Signature of the witness was not requested by
       15      that he had asked you and you told us that               15          counsel for the respective parties hereto.)
       16      Ms. James -- former Judge James hired you, is that       16
       17      correct?                                                 17
       18   A. That's correct.                                          18
       19   Q. And that she was your supervisor, your boss from that    19
       20      point forward, is that correct?                          20
       21   A. That's correct.                                          21
       22   Q. Okay. And then you told Mr. Hirsch or testified that     22
       23      after Ms. James was put on administrative leave that     23
       24      Judge Washington then became the interim 22nd District   24
       25      Court judge, correct?                                    25


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        1   A. Correct.                                                  1                 CERTIFICATE OF NOTARY
        2   Q. He was placed there by the State Court Administrator's    2   STATE OF MICHIGAN )
        3      Office, correct?                                          3                ) SS
        4   A. Correct.                                                  4   COUNTY OF WAYNE )
        5   Q. And was -- from your position, did you consider him to    5
        6      be your supervisor, your boss, the same as had been       6                I, HELEN F. BENHART, certify that this
        7      the case with Judge James?                                7      Deposition was taken before me on the date
        8   A. Yes.                                                      8      hereinbefore set forth; that the foregoing questions
        9   Q. Okay. Now, I think one of the very first questions        9      and answers were recorded by me stenographically and
       10      Mr. Hirsch asked you about on Exhibit 1 was I think      10      reduced to computer transcription; that this is a
       11      Paragraph 15. Do you recall that?                        11      true, full and correct transcript of my stenographic
       12   A. Yes.                                                     12      notes so taken; and that I am not related to, nor of
       13   Q. Okay. Now, in there it talks about the fourth            13      counsel to, either party nor interested in the event
       14      amendment right related to her, that being Plaintiff     14      of this cause.
       15      James, office. Do you recall that?                       15
       16   A. Yes.                                                     16
       17   Q. Now, I want to ask you more specifically about the       17
       18      safe. Did you know the origin where the safe had come    18
       19      from?                                                    19
       20   A. No.                                                      20
       21   Q. Okay. Had you ever seen Judge James bring it into her    21
       22      office from her house or from Costco or Home Depot or    22                    HELEN F. BENHART, CSR-2614
       23      anything?                                                23                    Notary Public,
       24   A. No.                                                      24                    Wayne County, Michigan.
       25   Q. And did you know whether the safe was a safe owned by    25      My Commission expires: 7/7/2020




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             A           agree 21:9 47:7       53:16 65:8       attorneys 5:11  birth 6:18
     able 24:18,22         52:20             appoint 32:25        29:20,23 63:3 bit 64:23
       27:12 47:4        ahead 16:19         appointed 32:8       63:5          Bloom 9:9,24
     accepted 33:11      air 28:21             32:15 33:18      August 63:6,7     10:1
     access 43:15        ajar 42:1,11          57:11            authority 16:13 Blowers 59:10
     accurate 49:2         64:23             approved 15:4      Avenue 2:5      Borman 1:8
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     accuse 14:3 61:4    allege 59:8,12        3:7                38:22,25        66:6
     act 59:10 60:10     allegedly 15:2      area 9:12 41:22                    Bowdich 13:5,7
                         alleging 46:6         41:23,24                 B         13:10,21 14:3
     acting 18:20
       19:20             amended 58:22       arrived 23:1       bachelor 7:16     15:7 16:8,11
     action 17:1           59:5                56:18             7:17             16:17 17:2
     actions 49:6,24     amendment           arts 7:16,17       bachelor's 7:15   32:4,10,15
       50:10,13            52:17,21 53:1     asked 21:7,15      back 9:12,14    boxes 48:25 49:3
     actual 26:12          53:12,15 54:2       21:16 22:6        11:7,11 41:2     49:15,17,19,21
       28:5 62:22          66:14               36:15 38:10       41:18,19 42:14   50:7,22 51:3
     Adam 3:1 9:14       and/or 28:9           64:2,10 65:15     42:19 43:2       51:16 52:2
       9:15 10:20          59:13,14,16,21      66:10 67:4        50:6 54:4        64:19
     Adam's 9:16         Anderson 1:15       asking 5:18 6:5     63:16          break 6:9,10
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